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13   Sharp Electronics Manufacturing Company of America, Inc.
14

15                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
16                                   SAN FRANCISCO DIVISION
17
                                                                Case No. 07-cv-5944 SC
18   IN RE CATHODE RAY TUBE (CRT)
     ANTITRUST LITIGATION                                       MDL No. 1917
19
     This Document Relates to:                                  DECLARATION OF GARY R.
20                                                              CARNEY IN SUPPORT OF
     ALL INDIRECT PURCHASER ACTIONS                             PLAINTIFFS’ OPPOSITION TO
21                                                              THE TOSHIBA DEFENDANTS’
     Electrograph Systems, Inc. et al. v. Hitachi, Ltd.,        MOTION FOR SUMMARY
22   et al., No. 11-cv-01656;
                                                                JUDGMENT CONCERNING
23   Siegel v. Hitachi, Ltd., et al., No. 11-cv-05502;          WITHDRAWAL

24   Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al., No.   [EXHIBITS 1-34 AND 36-48 FILED
     11-cv-05513;                                               UNDER SEAL PURSUANT TO
25                                                              CIVIL LOCAL RULE 79-5]
     Target Corp., et al. v. Chunghwa Picture Tubes,
26   Ltd., et al., No. 11-cv-05514;
27   Sears, Roebuck and Co., et al. v. Chunghwa
     Picture Tubes, Ltd., et al., No. 11-cv-05514-SC;
28

          DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO TOSHIBA’S MOTION FOR SUMMARY JUDGMENT
                        CONCERNING WITHDRAWAL: CASE NO. 07-5944-SC; MDL NO. 1917
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     Interbond Corporation of America v. Hitachi, et
1    al., No. 11-cv-06276;
2    Office Depot, Inc. v. Hitachi, Ltd., et al.,
     No. 11-cv-06276;
3
     Sharp Elecs. Corp. v. Hitachi, Ltd.,
4    No. 13-cv-01173;
5    CompuCom Systems, Inc. v. Hitachi, Ltd. et al., No.
     11-cv-06396;
6
     Costco Wholesale Corp. v. Hitachi, Ltd., et al., No.
7    11-cv-06397;
8    P.C. Richard & Son Long Island Corp., et al. v.
     Hitachi, Ltd., et al., No. 12-cv-02648;
9
     Schultze Agency Services, LLC v. Hitachi, Ltd., et
10   al., No. 12-cv-02649;
11   Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
     13-cv-00157;
12
     ViewSonic Corp. v. Chunghwa Picture Tubes, Ltd.,
13   et al., No. 3:14-cv-02510
14

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          DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO TOSHIBA’S MOTION FOR SUMMARY JUDGMENT
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1    I, Gary R. Carney, hereby declare as follows:

2                    1.     I am a Counsel with the law firm of Paul, Weiss, Rifkind, Wharton &

3    Garrison LLP, counsel for Plaintiffs Sharp Electronics Corporation and Sharp Electronics

4    Manufacturing Company of America, Inc. I am a member of the bar of the State of New York

5    and I am admitted to practice before this Court pro hac vice.

6                    2.     I submit this Declaration in support of Plaintiffs’ Opposition to the

7    Toshiba Defendants’ Motion for Summary Judgment Concerning Withdrawal, dated December

8    23, 2014. I have personal knowledge of the facts stated herein and could competently testify to

9    these facts if called upon to do so.

10                   3.     Attached as Exhibit 1 is a true and correct copy of relevant excerpts from

11   the Deposition of Jack Milliken, dated November 19, 2014, designated by Toshiba Corporation

12   as Highly Confidential.

13                   4.        Attached as Exhibit 2 is a true and correct copy of relevant excerpts from

14   the Deposition of Mio Tamba, dated September 24, 2014, designated Toshiba Corporation as

15   Highly Confidential.

16                   5.        Attached as Exhibit 3 is a true and correct copy of relevant excerpts from

17   the Deposition of Dae Eui Lee, dated January 16, 2013, designated by Samsung SDI as Highly

18   Confidential.

19                   6.        Attached as Exhibit 4 is a true and correct copy of a certified translation

20   of the document produced at Bates number SDCRT-0086245, designated by Samsung SDI as

21   Highly Confidential.

22                   7.        Attached as Exhibit 5 is a true and correct copy of relevant excerpts from

23   the Deposition of Jing Song Lu, Volume I, dated February 27, 2013, designated by Toshiba

24   Corporation as Highly Confidential.

25                   8.        Attached as Exhibit 6 is a true and correct copy of relevant excerpts from

26   the Deposition of Sheng-Jen Yang, Volume II, dated February 25, 2013, designated by Toshiba

27   Corporation as Highly Confidential.

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          DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO TOSHIBA’S MOTION FOR SUMMARY JUDGMENT
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     Case 4:07-cv-05944-JST Document 3280-1 Filed 12/23/14 Page 4 of 8




1                  9.       Attached as Exhibit 7 is a true and correct copy of relevant excerpts from

2    the Deposition of Chih Chun-Liu, Volume II, dated February 20, 2013, designated by Toshiba

3    Corporation as Highly Confidential.

4                  10.      Attached as Exhibit 8 is a true and correct copy of a certified translation

5    of the document produced at Bates number CHU00028203, designated by Chunghwa Picture

6    Tubes, Ltd. as Confidential.

7                  11.      Attached as Exhibit 9 is a true and correct copy of relevant excerpts from

8    the Deposition of Tomoyuki Kawano, Volume I, dated October 27, 2014, designated by Toshiba

9    Corporation as Highly Confidential.

10                 12.      Attached as Exhibit 10 is a true and correct copy of relevant excerpts

11   from the Deposition of Chih Chun-Liu, Volume I, dated February 19, 2013, designated by

12   Toshiba Corporation as Highly Confidential.

13                 13.      Attached as Exhibit 11 is a true and correct copy of relevant excerpts

14   from the Deposition of Sheng-Jen Yang, Volume I, dated February 22, 2013, designated by

15   Toshiba Corporation as Highly Confidential.

16                 14.      Attached as Exhibit 12 is a true and correct copy of relevant excerpts

17   from the Deposition of Sheng-Jen Yang, Volume III, dated February 26, 2013, designated by

18   Toshiba Corporation as Highly Confidential.

19                 15.      Attached as Exhibit 13 is a true and correct copy of a certified translation

20   of the document produced at Bates number CHU00028240, designated by Chunghwa Picture

21   Tubes, Ltd. as Confidential.

22                 16.      Attached as Exhibit 14 is a true and correct copy of a certified translation

23   of the document produced at Bates number CHU00028224, designated by Chunghwa Picture

24   Tubes, Ltd. as Confidential.

25                 17.      Attached as Exhibit 15 is a true and correct copy of a certified translation

26   of the document produced at Bates number CHU00028209, designated by Chunghwa Picture

27   Tubes, Ltd. as Confidential.

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          DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO TOSHIBA’S MOTION FOR SUMMARY JUDGMENT
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1                    18.     Attached as Exhibit 16 is a true and correct copy of relevant excerpts

2    from the Deposition of Tomoyuki Kawano, Volume II, dated October 28, 2014, designated by

3    Toshiba Corporation as Highly Confidential.

4                    19.     Attached as Exhibit 17 is a true and correct copy of a certified translation

5    of the document produced at Bates number TSB-CRT-00036875, designated by Toshiba

6    Corporation as Highly Confidential.

7                    20.     Attached as Exhibit 18 is a true and correct copy of a certified translation

8    of the document produced at Bates number TSB-CRT00042334, designated by Toshiba

9    Corporation as Highly Confidential.

10                   21.     Attached as Exhibit 19 is a true and correct copy of a certified translation

11   of the document produced at Bates number TSB-CRT-00041620, designated by Toshiba

12   Corporation as Highly Confidential.

13                   22.     Attached as Exhibit 20 is a true and correct copy of a certified translation

14   of the document produced at Bates number TSB-CRT-00035350, designated by Toshiba

15   Corporation as Highly Confidential.

16                   23.     Attached as Exhibit 21 is a true and correct copy of a certified translation

17   of the document produced at Bates number MTPD-0035375, designated by MT Picture Display

18   Co., Ltd. as Confidential.

19                   24.     Attached as Exhibit 22 is a true and correct copy of a certified translation

20   of the document produced at Bates number SDCRT-0002526, designated by Samsung SDI as

21   Highly Confidential.

22                   25.     Attached as Exhibit 23 is a true and correct copy of a certified translation

23   of the document produced at Bates number CHU00028229, designated by Chunghwa Picture

24   Tubes, Ltd. as Confidential.

25                   26.     Attached as Exhibit 24 is a true and correct copy of the document

26   produced at Bates number PHLP-CRT-014272, designated by Koninklijke Philips N.V. as

27   Confidential.

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          DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO TOSHIBA’S MOTION FOR SUMMARY JUDGMENT
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1                    27.       Attached as Exhibit 25 is a true and correct copy of relevant excerpts

2    from the document produced at Bates number TSB-CRT-00008294, designated by Toshiba

3    Corporation as Confidential.

4                    28.       Attached as Exhibit 26 is a true and correct copy of the document

5    produced at Bates number PHLP-CRT-167050, designated by Koninklijke Philips N.V. as

6    Confidential.

7                    29.       Attached as Exhibit 27 is a true and correct copy of relevant excerpts

8    from the Deposition of Koji Kurosawa, dated July 30, 2012, designated by Toshiba Corporation

9    as Highly Confidential.

10                   30.       Attached as Exhibit 28 is a true and correct copy of the document

11   produced at Bates number TAEC-CRT-00029951, designated by Toshiba America Electronic

12   Components, Inc. as Highly Confidential.

13                   31.       Attached as Exhibit 29 is a true and correct copy of a certified translation

14   of the document produced at Bates number MTPD-0013890, designated by MT Picture Display

15   Co., Ltd. as Highly Confidential.

16                   32.       Attached as Exhibit 30 is a true and correct copy of the document

17   produced at Bates number TSB-CRT-00007798, designated by Toshiba Corporation as

18   Confidential.

19                   33.       Attached as Exhibit 31 is a true and correct copy of a certified translation

20   of the document produced at Bates number CHU00020661, designated by Chunghwa Picture

21   Tubes, Ltd. as Confidential.

22                   34.       Attached as Exhibit 32 is a true and correct copy of the document

23   produced at Bates number PHLP-CRT-159268, designated by Koninklijke Philips N.V. as

24   Confidential.

25                   35.       Attached as Exhibit 33 is a true and correct copy of the document

26   produced at Bates number PHLP-CRT-156380, designated by Koninklijke Philips N.V. as

27   Confidential.

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          DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO TOSHIBA’S MOTION FOR SUMMARY JUDGMENT
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1                    36.     Attached as Exhibit 34 is a true and correct copy of the document

2    produced at TSA-CRT00033173, designated by Thomson SA as Highly Confidential.

3                    37.     Attached as Exhibit 35 is a true and correct copy of relevant excerpts

4    from Brad E. Muniz & Elizabeth Harper, 2012 U.S. Master GAAP Guide (2011).

5                    38.     Attached as Exhibit 36 is a true and correct copy of relevant excerpts

6    from the Deposition of Takashi Nakano, dated July 13, 2012, designated by Panasonic

7    Corporation as Highly Confidential.

8                    39.     Attached as Exhibit 37 is a true and correct copy of relevant excerpts

9    from Toshiba Corporation’s Supplemental Objections and Responses to Interrogatory Nos. Four

10   and Five of Direct Purchaser Plaintiffs’ First Set of Interrogatories, dated February 10, 2012,

11   designated by Toshiba Corporation as Confidential.

12                   40.     Attached as Exhibit 38 is a true and correct copy of relevant excerpts

13   from the Deposition of Tatsuo Tobinaga, dated July 16, 2012, designated by Panasonic

14   Corporation as Highly Confidential.

15                   41.     Attached as Exhibit 39 is a true and correct copy of a certified translation

16   of the document produced at Bates number TSB-CRT00067727, designated by Toshiba

17   Corporation as Highly Confidential.

18                   42.     Attached as Exhibit 40 is a true and correct copy of relevant excerpts

19   from the Deposition of Kazuhiro Nishimaru, Volume I, dated June 26, 2013, designated by

20   Toshiba Corporation as Highly Confidential.

21                   43.     Attached as Exhibit 41 is a true and correct copy of relevant excerpts

22   from the Deposition of Yoshiaki Uchiyama, dated August 1, 2012, designated by Toshiba

23   Corporation as Highly Confidential.

24                   44.     Attached as Exhibit 42 is a true and correct copy of the document

25   produced at Bates number MTPD-0167498, designated by MT Picture Display Co., Ltd. as

26   Confidential.

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          DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO TOSHIBA’S MOTION FOR SUMMARY JUDGMENT
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1                   45.      Attached as Exhibit 43 is a true and correct copy of a certified translation

2    of the document produced at Bates number CHU00030060, designated by Chunghwa Picture

3    Tubes, Ltd. as Confidential.

4                   46.      Attached as Exhibit 44 is a true and correct copy of a certified translation

5    of the document produced at Bates number MTPD-0400554, designated by MT Picture Display

6    Co., Ltd. as Confidential.

7                   47.      Attached as Exhibit 45 are true and correct copies of certified translations

8    of the documents produced at Bates numbers MTPD-0400555 and MTPD-0400558, designated

9    by MT Picture Display Co., Ltd. as Confidential and Highly Confidential, respectively.

10                  48.      Attached as Exhibit 46 is a true and correct copy of a certified translation

11   of the document produced at Bates number PC-0021858, designated by Panasonic Corporation

12   as Confidential.

13                  49.      Attached as Exhibit 47 is a true and correct copy of a certified translation

14   of the document produced at Bates number PC-0023105, designated by Panasonic Corporation

15   as Confidential.

16                  50.      Attached as Exhibit 48 is a true and correct copy of relevant excerpts

17   from the Deposition of Tomoyuki Kawano, Volume III, dated October 29, 2014, designated by

18   Toshiba Corporation as Highly Confidential.

19

20                  I declare under penalty of perjury that the foregoing is true and correct. Executed

21   this 23rd day of December, 2014, in New York, New York.

22

23                                                                /s/ Gary R. Carney

24                                                                   Gary R. Carney

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          DECLARATION OF GARY R. CARNEY ISO OPPOSITION TO TOSHIBA’S MOTION FOR SUMMARY JUDGMENT
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